                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     SOUTHERN DIVISION
                                    CASE NO. 7:09-CR-50-F-l


UNITED STATES OF AMERICA

               vs.                                                            ORDER

MICHAEL D. BERNARD
           Defendant.



               FOR GOOD CAUSE SHOWN, the defendant's pro se motion that he be allowed to

withdraw from that capacity and that Mr. W. H. Paramore, III be re-appointed to appear in his case as

trial counsel pursuant to the initial appointment of the Federal Public Defender is ALLOWED AND

GRANTED and Mr. Paramore is re-appointed as trial counsel and a new Notice of Appearance is not

required to be filed by Mr. Paramore.

                         IT IS SO ORDERED AND DIRECTED.

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                         Executed at chambers this the l i day of August 2010.




                     THE LAW OFFICES OF W. H. PARAMORE, Ill, P.e. - Telephone: (910) 347-1800
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